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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Matthew Kreuser
                                 Plaintiff,
v.                                                     Case No.: 1:21−cv−02716
                                                       Honorable Gary Feinerman
Clinton P. Jones, et al.
                                 Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 21, 2021:


       MINUTE entry before the Honorable Gary Feinerman: The motion for leave to
appear pro hac vice [8] is granted. The joint motion to stay [7] is granted. This case is
stayed pending resolution of the motion to dismiss in Case No. 20 C 5593 (N.D. Ill.). By
7/15/2021, the parties shall file a joint status report regarding the motion to dismiss in
Case No. 20 C 5593 (N.D. Ill.). Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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